Case 1:23-cv-00822-ADA Document 27-21 Filed 12/22/22 Page 1 of 2




         Exhibit	  BB	  
12/14/22, 12:55 PM     Case 1:23-cv-00822-ADA          Document
                                      Mountain View, California to Phillip 27-21      Filed
                                                                           Burton Federal       12/22/22
                                                                                          Building              Page- Google
                                                                                                   and U.S. Courthouse 2 of Maps
                                                                                                                             2

                                          Mountain View, California to         Drive 39.2 miles, 48 min
                                          Phillip Burton Federal Building and U.S. Courthouse, 450
                                          Golden Gate Ave, San Francisco, CA 94102




                                                                                                 Map data ©2022 Google          2 mi



                     via US-101 N                                                  48 min
                     Fastest route now due to traffic                          39.2 miles
                     conditions

                     via I-280 N                                                   52 min
                                                                               43.0 miles



                        11:04 AM—12:23 PM                                   1 hr 19 min
                         L5               Red-N




      Explore Phillip Burton Federal Building and U.S.
      Courthouse




https://www.google.com/maps/dir/Mountain+View,+California/Phillip+Burton+Federal+Building+and+U.S.+Courthouse,+450+Golden+Gate+Ave,+San+Francisco,…   1/3
